      Case 4:15-cr-06010-EFS       ECF No. 188      filed 02/27/17   PageID.535 Page 1 of 1




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 2
                             UNITED STATES DISTRICT COURT
 3
                          EASTERN DISTRICT OF WASHINGTON
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 5
     UNITED STATES OF AMERICA,                          No. 4:15-CR-6010-EFS-2
 6
 7                         Plaintiff,                   ORDER GRANTING MOTION
                                                        TO MODIFY CONDITIONS OF
 8   vs.                                                RELEASE
 9
     EDUARDO CARMONA,
10
11                         Defendant.
12          Before the Court is Defendant’s Motion to Modify his Conditions of release.
13   Defendant seeks to return to work as a truck driver, which would require travel to
14   Montana. Neither the U.S. Probation Office, nor the Assistant U.S. Attorney object
15   to Defendant’s Motion.
16          IT IS ORDERED that the Defendant’s Motion to Modify Conditions of
17   Release, ECF No. 187, is GRANTED. Defendant may travel to Montana for
18   purposes of employment only.           Prior to each incident of travel for employment,
19   Defendant must provide Pretrial Services with specific contact information as to
20   where he will be staying, and a telephone number where he can be contacted at any
21   time that he is out of the district.
22          While out of the district, Defendant is subject to all previously-ordered
23   conditions of release not inconsistent with temporary travel outside the district.
24          DATED February 27, 2017.
25
26                                  _____________________________________
                                              JOHN T. RODGERS
27                                   UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
